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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, produced in redacted form on April 14, 2025. We are submitting these
documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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Direct Slack Messages Discussing Legal Advice: PRIV-APL-EG_00128315, PRIV-APL-
EG_00130876, PRIV-APL-EG_00132073, PRIV-APL-EG_00137379

        PRIV-APL-EG_00128315 is a direct Slack message among four non-lawyers regarding
public relations planning for certain App Store changes. Contrary to Epic’s belief, it is not the
case that the redacted content is privileged because it reveals “the identity of counsel.” Rather, it
is redacted because it relays information about legal advice provided by Ling Lew (in-house
counsel) to other non-lawyers. The exchange is privileged as a description of information that is
the subject of legal advice. See Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855,
866 (N.D. Cal. 2019); Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D. Cal.
Apr. 21, 2016).

        PRIV-APL-EG_00130876 is a direct Slack message between two non-lawyers (with others
included on the thread) in which a non-lawyer requests information relevant to injunction
compliance that he indicates is intended to be “relay[ed] to [outside counsel].” Information
gathered at the direction of outside counsel for the purpose of rendering legal advice is privileged.
See FTC v. Boehringer Ingelheim Pharms., Inc., 180 F. Supp. 3d 1, 30 (D.D.C. 2016); see also In
re CV Therapeutics, Inc. Sec. Litig., 2006 WL 1699536, at *4 (N.D. Cal. June 16, 2006) (“The
attorney-client privilege protects documents which involve either client communications intended
to keep the attorney apprised of continuing business developments, with an implied request for
legal advice based thereon, or self-initiated attorney communications intended to keep the client
posted on legal developments and implications, including implications of client activity noticed
by the attorney but with regard to which no written request for advice from the client has been
found.”).

        PRIV-APL-EG_00132073 is a direct Slack message among several non-lawyers, as well
as Ling Lew (in-house counsel), regarding changes made to the App Store in the Netherlands and
discussing legal advice received from Sean Cameron (in-house counsel). Epic asserts that the
redacted content is not privileged “[u]nless these redacted messages facially disclose the contents
of Mr. Cameron’s legal advice.” Dkt. 1463, at 3. That is precisely what these message disclose—
in the redacted content, non-lawyers relay and discuss legal advice received from Mr. Cameron.
This discussion among non-lawyers of legal advice received from in-house counsel is privileged.
See Dolby Lab’ys Licensing Corp., 402 F. Supp. 3d at 866; Chrimar Sys., 2016 WL 1595785, at
*3.

        PRIV-APL-EG_00137379 is a direct Slack message among several non-lawyers, as well
as Ling Lew (in-house counsel), regarding changes made to the App Store in the Netherlands and
Korea. The redacted content consists of a question to Ling Lew (in-house counsel) regarding the
treatment of certain apps on multiple App Store storefronts, some discussion of that question, and
Ms. Lew’s response. Because this is an exchange soliciting and providing legal advice, it is
privileged. See United States v. Sanmina Corp., 968 F.3d 1107, 1116 (9th Cir. 2020).




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Text Messages        Discussing    Legal    Advice:     PRIV-APL-EG_00130635,           PRIV-APL-
EG_00130709

         PRIV-APL-EG_00130635 is a text message chain among several non-lawyers regarding
various considerations related to changes Apple was making in response to new regulatory
requirements in the European Union. The majority of the chain is unredacted. The only redacted
portion relays the substance of a request for legal advice to in-house counsel Kyle Andeer, Sean
Dillon, and Brendan McNamara regarding certain aspects of those changes. The scope of work,
if left unredacted, would disclose the subject of a request for legal advice to these in-house counsel
and is therefore privileged. See In re Meta Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal.
July 10, 2024).

         PRIV-APL-EG_00130709 is a text message chain among several non-lawyers regarding
finance questions relevant to the injunction compliance plan at issue in this litigation. The majority
of the chain is unredacted. The redacted portion describes advice provided by legal regarding the
deadline for complying with the injunction. Apple is not asserting privilege over “every document
that is in some way connected with an effort to achieve legal compliance,” as Epic suggests, see
Dkt. 1463, at 3, but rather has proposed a narrow redaction to text that “disclose[s] the contents of
legal advice” expressly obtained from counsel, id. at 2. The exchange is therefore privileged. See
Dolby Lab’ys Licensing Corp., 402 F. Supp. 3d at 866; Chrimar Sys., 2016 WL 1595785, at *3.




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Emails Discussing Legal Advice: PRIV-APL-EG_00131347, PRIV-APL-EG_00136083,
PRIV-APL-EG_00132730

        PRIV-APL-EG_00131347 is an email from a non-lawyer to a listserv cc’ing Jason Cody
(in-house counsel) and another non-lawyer. In the email, the sender provides a summary of a
recent update published to Apple’s website regarding App Store changes in the Netherlands. The
summary is unredacted. The only redacted portion is a short paragraph providing information
about how and from whom to seek additional legal advice. Because this content relays the subject
of a request for legal advice, it is privileged. See In re Meta Healthcare Litig., 2024 WL 3381029,
at *2 (N.D. Cal. July 10, 2024).

        PRIV-APL-EG_00136083 is an email chain among several non-lawyers, as well as Ling
Lew and Jason Cody (both in-house counsel), regarding various options under consideration for
messaging to users who are considering leaving an app to transact directly with a developer. The
majority of the chain is unredacted, including most of the substantive discussion among the non-
lawyers. Epic argues that “Apple appears to have redacted a portion of a message sent by Bri
Cote,” a non-lawyer, consisting of “screenshots on which Ms. Cote is seeking feedback.” Dkt.
1463, at 4. It is unclear to what message Epic is referring. The chronologically last email in the
chain is from Ms. Cote, but is not redacted, and there are no other emails from Ms. Cote in the
chain. The redacted content consist of three emails sent by Ms. Lew and Mr. Cody (contrary to
Epic’s plainly inaccurate contention that “none of the lawyers on the chain discernibly participate
in the discussion”), two of which are in response to a redacted email from a different non-lawyer
seeking legal advice directly from Ms. Lew. Apple has not redacted any part of any message sent
by Ms. Cote and has not redacted any “screenshots.” Because Apple has redacted only those
portions of the email soliciting or providing legal advice, the redactions are appropriate. See
United States v. Sanmina Corp., 968 F.3d 1107, 1116 (9th Cir. 2020). Epic’s arguments otherwise
appear to be premised on a misapprehension of the unredacted and redacted content.

       Apple will produce PRIV-APL-EG_00132730 without redaction.




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DATED: April 21, 2025                   WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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